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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 18-23615-CIV-ALTONAGA/Goodman

 MAURICE SYMONETTE, et al.,

        Plaintiffs,
 v.

 INDY MAC BANK, et al.,

       Defendants.
 _____________________________/

                                          ORDER

        THIS CAUSE came before the Court on Plaintiffs’ Motion for Extension of time of Ten

 Days to Correct and Amend Complaint to Enter Newly Discovered Evidence [ECF No. 5].

 Being fully advised, it is

        ORDERED AND ADJUDGED that the Motion is GRANTED. Plaintiffs have until

 September 27, 2018 to file their amended complaint, failing which the case will be dismissed

 without prejudice.

        DONE AND ORDERED in Miami, Florida, this 18th day of September, 2018.



                                                     _________________________________
                                                     CECILIA M. ALTONAGA
                                                     UNITED STATES DISTRICT JUDGE

 cc:    Plaintiffs, pro se
